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                                                                                                              Main094 (rev. 5/04)
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                                UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF TEXAS

                                                        §
 In Re: Natural Gas Vehicles Texas, Inc.                §
                                                        §     Case No.: 22-42781-mxm11
                                                        §
                                                        §
                                     Debtor(s)          §
                                                        §


                                   VERIFICATION OF MAILING LIST


          The Debtor(s) certifies that the attached mailing list ( only one option may be selected per
 form):

                   G is the first mail matrix in this case.
                   ■ adds entities not listed on previously filed mailing list(s).
                   G
                   G changes or corrects name(s) and address(es) on previously filed mailing list(s).
                   G deletes name(s) and address(es) on previously filed mailing list(s).



         In accordance with N.D. TX L.B.R. 1007.1, the above named Debtor(s) hereby verifies
 that the attached list of creditors is true and correct.




 ___________________________________
  1/26/2023                                                   ___________________________________
 Date                                                         Signature of Attorney (if applicable)



 ___________________________________
  /s/ Farroukh Zaidi                                          ___________________________________
 Signature of Debtor                                          Debtor’s Social Security (last four digits only) /Tax ID No.



 ___________________________________                          ___________________________________
 Signature of Joint Debtor (if applicable)                    Joint Debtor’s Social Security (last four digits only) /Tax ID No.
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  1-800-Radiator & A/C
  2626 Northhaven Road
  Dallas, TX 75229

  A-Discount Glass
  847 County Rd. 6055
  Houston, TX 77535

  Advance Auto Parts
  10200 East Irving Blvd.
  Irving, TX 75060

  Advance Truck Parts Online
  45 Green Acres Dr.
  Candler, NC 28715

  Aggregate Towing
  2320 N Houston St., Apt. 901
  Dallas, TX 75219

  AK Glass and Auto Glass Inc.
  2270 Manana Dr.
  Dallas, TX 75220

  AmeriCredit Financial Services, Inc.
  dba GM Financial
  PO Box 183593
  Dallas, TX 76096

  Armor-X Limited



  Bridgestone Americas
  PO Box 730026
  Dallas, TX 75247

  Bruckners (V)
  3611 Irving Blvd.
  Dallas, TX 75247

  Cavalier Co.
  196 Mark Lane
  Royse City, TX 75189

  City of Dallas
  1500 Marilla St.
  Dallas, TX 75201

  Conlan Tire Houston
  3300 N McCarty St.
  Houston, TX 77029

  Continental Tire
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  1830 MacMillian Park Dr.
  Fort Mill, SC 29707

  Cummins
  PO Box 772642
  Detroit, MI 48277-2642

  Dallas County
  500 Elm St., Suite 3300
  Dallas, TX 75202

  Dallas ISD
  9400 N Central Expwy
  Dallas, TX 75231

  Daltex Trailer Repair
  3124 Partridge Ct.
  Grand Prairie, TX 75052

  Dhollandia
  270 Southridge Parkway
  Bessemer City, NC 28016

  Ellis Color Supply #1
  11570 Reeder Rd.
  Dallas, TX 75229

  Farroukh Zaidi
  10733 Spangler Rd.
  Dallas, TX 75220

  First Capital Bank of Texas
  5580 LBJ Freeway, Suite 100
  Dallas, TX 75240

  Fleetpride Truck and Trailer Parts
  601 W Mockingbird Lane
  Dallas, TX 75247

  Geoff Beveridge
  661 E Main St., Suite 200
  Midlothian, TX 76065

  Grainger
  8321 John W Carpenter Fwy
  Dallas, TX 75247-4724

  H&D Distributors
  1373 Round Table Dr.
  Dallas, TX 75247

  Hose Tech USA
  2770 E Grauwyler, Suite 1500
  Irving, TX 75061
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  HYLIION
  1202 BMC Dr., Suite 100
  Cedar Park, TX 78613

  Imperial Supplies LLC
  PO Box 5362
  Janeville, WI 53547-5362

  Internal Revenue Service
  Centralized Insolvency Operations
  PO Box 21126
  Philadelphia, PA 19114-0326

  Internal Revenue Service
  Special Procedures Staff
  Mail Code 5020-DAL
  1100 Commerce St., Room 9B8
  Dallas, TX 75242

  Marcel Pradella
  2124 Dogwood Creek Ave.
  Yukon, OK 73099

  Metroplex Welding Supply
  1970 W Northwest Hwy
  Dallas, TX 75220

  MI-SHER (NAPA)
  1301 W Northwest Hwy
  Grapevine, TX 76051

  Mid South Engine & Power Systems LLC
  2233 Solona St.
  Haltom City, TX 76117

  Mike Albert, Ltd.
  10340 Evendale Dr.
  Cincinnati, OH 45241-2564

  Mitsubishi HC Finance



  Natalia V Volikova
  c/o Robert M Clark, Esq.
  4627 N US 75, Central Expy
  Suite 1000
  Dallas, TX 75205

  Natural Gas Logistics Inc.
  10733 Spangler Rd.
  Dallas, TX 75220
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  Natural Gas School Bus, LLC
  10733 Spangler Rd.
  Dallas, TX 75220

  Natural Gas Supply, LLC
  10733 Spangler Rd.
  Dallas, TX 75220

  NGV Administrative and Human Resources
  10733 Spangler Rd.
  Dallas, TX 75220

  NGV Global Group, Inc.
  10733 Spangler Rd.
  Dallas, TX 75220

  Northwest Propane
  1515 West Beltline Rd., Suite 100
  Carrollton, TX 75006

  NVG Global Group, Inc.
  10733 Spangler Rd.
  Dallas, TX 75220

  Omnitek Engineering Corp.
  1345 Specialty Dr., #E
  Wista, CA 92081

  PDQ Staffing, Inc.
  4444 Jefferson Blvd., Suite 624
  Dallas, TX 75211

  Premium Truck Group of Dallas No.
  PO Box 840827
  Dallas, TX 75284-0827

  Recappers (V)
  2360 E Grauwyler Rd.
  Irving, TX 75061

  Repeat Business Systems
  1565 W Main St.
  Lewisville, TX 75067

  Rush Truck Center
  109 Cundiff Dr.
  Seagoville, TX 75159

  Signage Systems
  7900 Ferguson Rd.
  Dallas, TX 75228

  Snap On
  12617 E FM917 Suite E
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  Alvarado, TX 76009

  Southern Tire Mart
  816 W Mockingbird Ln
  Dallas, TX 75247

  Southwest International Truck (V)
  3722 Irving Blvd.
  Dallas, TX 75247

  T. J. Yarbourogh
  1121 Beechview, Apt. 2213
  Dallas, TX 75218

  U-line
  PO Box 88741
  Chicago, IL 60680-1741

  Unifirst
  PO Box 650841
  Dallas, TX 75265-0481

  Utility Trailer Sales
  PO Box 24399
  Houston, TX 77229

  Valvoline
  3221 E Arkansas Lane
  Suite 150
  Arlington, TX 76010

  Waste Connections, Inc.
  12150 Garland Rd.
  Dallas, TX 75218

  Z & Son Transmission & Mechanics
  10418 C.F. Hawn Frwy
  Dallas, TX 75217

  Zeit Energy
  1024 Luke St.
  Irving, TX 75061-4002
